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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

FRANK GARRISON,                          )
                                         )
                          Plaintiff,     )
                                         )
                       v.                )               No. 1:22-cv-01895-RLY-TAB
                                         )
U.S. DEPARTMENT OF EDUCATION and, )
MIGUEL CARDONA, in his official capacity )
as U.S. Secretary of Education,          )
                                         )
                          Defendants.    )

         ORDER DENYING PLAINTIFF'S MOTION FOR A TEMPORARY
           RESTRAINING ORDER AND PRELIMINARY INJUNCTION

        On September 29, 2022, the court held a telephonic scheduling conference to

 discuss Plaintiff's Motion for a Temporary Restraining Order and Motion for a

 Preliminary Injunction and how this matter will proceed. Following a change in the

 student loan debt relief plan at issue (Filing No. 13), the court, in view of the fact the

 Department of Education exempted Plaintiff from receiving debt relief, finds Plaintiff

 cannot be irreparably harmed as is required for preliminary relief. Pursuant to the parties'

 agreement, the motions for a temporary restraining order (Filing No. 4) and preliminary

 injunction (Filing No. 5) are DENIED without prejudice.

        Plaintiff has orally moved for leave to amend his complaint. That request is

 GRANTED, and Plaintiff will have until October 10, 2022, to file an amended

 complaint. Before filing an amended complaint, Plaintiff should consider the following

 issues raised at the telephonic scheduling conference:


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       1. Whether he (and any additional plaintiffs) have standing. Particularly, whether
          their injury is caused by and fairly traceable to the debt relief program or to the
          Indiana Tax Code. See Segovia v. United States, 880 F.3d 384, 388–89 (7th
          Cir. 2018).

       2. Whether the Department of Education has taken sufficient action for the case
          to be ripe for adjudication. Plaintiff's allegations speculate about the terms of
          the program. But as evidenced by the Government's recent addition of an opt-
          out provision, the plan is still evolving.


 IT IS SO ORDERED this 29th day of September.




                                                  s/RLY




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